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                                                                           ACCO,(SKx),CLOSED,DISCOVERY,MANADR


  UNITED STATES DISTRICT COURT for the CENTRAL DISTRICT OF CALIFORNIA
                     (Western Division − Los Angeles)
            CIVIL DOCKET FOR CASE #: 2:16−cv−08040−MWF−SK

Carpenters Southwest Administrative Corporation et al v. H K B Inc et al   Date Filed: 10/28/2016
Assigned to: Judge Michael W. Fitzgerald                                   Date Terminated: 01/17/2017
Referred to: Magistrate Judge Steve Kim                                    Jury Demand: None
Demand: $500,000                                                           Nature of Suit: 791 Labor: E.R.I.S.A.
Cause: 29:1132 E.R.I.S.A.−Employee Benefits                                Jurisdiction: Federal Question
Plaintiff
Carpenters Southwest Administrative                        represented by Jodi Siegner
Corporation                                                               DeCarlo and Shanley APC
a California non−profit corporation                                       533 South Fremont Avenue 9th Floor
                                                                          Los Angeles, CA 90071−1706
                                                                          213−488−4100
                                                                          Fax: 213−488−4180
                                                                          Email: jsiegner@deconsel.com
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                           Thomas L Davis
                                                                           DeCarlo and Shanley APC
                                                                           533 South Fremont Avenue 9th Floor
                                                                           Los Angeles, CA 90071
                                                                           213−488−4100
                                                                           Fax: 213−488−4180
                                                                           Email: tdavis@deconsel.com
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED

Plaintiff
Board of Trustees for the Carpenters                       represented by Thomas L Davis
Southwest Trusts                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                           Jodi Siegner
                                                                           (See above for address)
                                                                           ATTORNEY TO BE NOTICED


V.
Defendant
H K B Inc                                                  represented by James E Holland , Jr
doing business as                                                         Stinson Leonard Street LLP
Southwest Industrial Rigging                                              1850 North Central Avenue Suite 2100
                                                                          Phoenix, AZ 85004−4584
                                                                          602−279−1600
                       Case 2:17-cv-00198-DJH Document 29 Filed 01/23/17 Page 2 of 6
                                                             Fax: 602−240−6925
                                                             Email: james.holland@stinson.com
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Javier Torres
                                                             Stinson Leonard Street LLP
                                                             1850 North Central Avenue Suite 2100
                                                             Phoenix, AZ 85004
                                                             602−279−1600
                                                             Fax: 602−240−6925
                                                             Email: javier.torres@stinson.com
                                                             ATTORNEY TO BE NOTICED

                                                             Nicholas James Begakis
                                                             LimNexus LLP
                                                             1055 West Seventh Street
                                                             28th Floor
                                                             Los Angeles, CA 90017
                                                             213−955−9500
                                                             Fax: 213−955−9511
                                                             Email: nick.begakis@limnexus.com
                                                             ATTORNEY TO BE NOTICED

Defendant
Harry Kent Baker                                represented by James E Holland , Jr
an individual                                                  (See above for address)
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                             Javier Torres
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Nicholas James Begakis
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
Scott William Miller                            represented by James E Holland , Jr
an individual                                                  (See above for address)
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                             Javier Torres
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Nicholas James Begakis
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
                          Case 2:17-cv-00198-DJH Document 29 Filed 01/23/17 Page 3 of 6
James Douglas Wilson                                           represented by James E Holland , Jr
an individual                                                                 (See above for address)
                                                                              PRO HAC VICE
                                                                              ATTORNEY TO BE NOTICED

                                                                                Javier Torres
                                                                                (See above for address)
                                                                                ATTORNEY TO BE NOTICED

                                                                                Nicholas James Begakis
                                                                                (See above for address)
                                                                                ATTORNEY TO BE NOTICED

Defendant
Does
1 through 10, inclusive


 Date Filed        #      Docket Text

 10/28/2016       Ï1      COMPLAINT Receipt No: 0973−18799018 − Fee: $400, filed by plaintiffs Carpenters Southwest
                          Administrative Corporation, Board of Trustees for the Carpenters Southwest Trusts. (Attachments:
                          # 1 Declaration 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4) (Attorney Jodi Siegner added to party
                          Board of Trustees for the Carpenters Southwest Trusts(pty:pla), Attorney Jodi Siegner added to
                          party Carpenters Southwest Administrative Corporation(pty:pla))(Siegner, Jodi) (Entered:
                          10/28/2016)

 10/28/2016       Ï2      Request for Clerk to Issue Summons on Complaint (Attorney Civil Case Opening), 1 filed by
                          plaintiffs Board of Trustees for the Carpenters Southwest Trusts, Carpenters Southwest
                          Administrative Corporation. (Siegner, Jodi) (Entered: 10/28/2016)

 10/28/2016       Ï3      CIVIL COVER SHEET filed by Plaintiffs Board of Trustees for the Carpenters Southwest Trusts,
                          Carpenters Southwest Administrative Corporation. (Siegner, Jodi) (Entered: 10/28/2016)

 10/28/2016       Ï4      Certification and Notice of Interested Parties filed by plaintiffs Board of Trustees for the Carpenters
                          Southwest Trusts, Carpenters Southwest Administrative Corporation, (Siegner, Jodi) (Entered:
                          10/28/2016)

 10/28/2016       Ï5      NOTICE OF ASSIGNMENT to District Judge Michael W. Fitzgerald and Magistrate Judge Steve
                          Kim. (et) (Entered: 10/28/2016)

 10/28/2016       Ï6      NOTICE TO PARTIES OF COURT−DIRECTED ADR PROGRAM filed. (et) (Entered:
                          10/28/2016)

 10/28/2016       Ï7      21 DAY Summons Issued re Complaint (Attorney Civil Case Opening) 1 as to Defendants Harry
                          Kent Baker, H K B Inc, Scott William Miller, James Douglas Wilson. (et) (Entered: 10/28/2016)

 11/08/2016       Ï8      Notice of Appearance or Withdrawal of Counsel: for attorney Thomas L Davis counsel for Plaintiffs
                          Board of Trustees for the Carpenters Southwest Trusts, Carpenters Southwest Administrative
                          Corporation. Adding Thomas Davis as counsel of record for Carpenters Southwest Administrative
                          Corporation; and Board of Trustees for the Carpenters Southwest Trusts for the reason indicated in
                          the G−123 Notice. Filed by Plaintiffs Carpenters Southwest Administrative Corporation; and Board
                          of Trustees for the Carpenters Southwest Trusts. (Attorney Thomas L Davis added to party Board of
                          Trustees for the Carpenters Southwest Trusts(pty:pla), Attorney Thomas L Davis added to party
                          Carpenters Southwest Administrative Corporation(pty:pla))(Davis, Thomas) (Entered: 11/08/2016)
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11/10/2016    Ï9    NOTICE TO PARTIES by District Judge Michael W. Fitzgerald. Effective November 17, 2016,
                    Judge Fitzgerald will be located at the 1st Street Courthouse, COURTROOM 5A on the 5th floor,
                    located at 350 W. 1st Street, Los Angeles, California 90012. All Court appearances shall be made in
                    Courtroom 5A of the 1st Street Courthouse, and all mandatory chambers copies shall be hand
                    delivered to the judge's mail box outside the Clerk's Office on the 4th floor of the 1st Street
                    Courthouse. The location for filing civil documents in paper format exempted from electronic filing
                    and for viewing case files and other records services remains at the United States Courthouse, 312
                    North Spring Street, Room G−8, Los Angeles, California 90012. The location for filing criminal
                    documents in paper format exempted from electronic filing remains at Edward R. Roybal Federal
                    Building and U.S. Courthouse, 255 East Temple Street, Room 178, Los Angeles, California 90012.
                    THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (rrp) TEXT ONLY
                    ENTRY (Entered: 11/10/2016)

11/29/2016   Ï 10   PROOF OF SERVICE Executed by Plaintiff Carpenters Southwest Administrative Corporation,
                    Board of Trustees for the Carpenters Southwest Trusts, upon Defendant H K B Inc served on
                    11/14/2016, answer due 12/5/2016. Service of the Summons and Complaint were executed upon
                    Douglas Hamilton, Agent for service of process in compliance with California Code of Civil
                    Procedure by service on a domestic corporation, unincorporated association, or public
                    entity.Original Summons NOT returned. (Davis, Thomas) (Entered: 11/29/2016)

12/05/2016   Ï 11   NOTICE OF MOTION AND MOTION to Dismiss Complaint or in the Alternative to Transfer
                    Venue filed by Defendants Harry Kent Baker, H K B Inc, Scott William Miller, James Douglas
                    Wilson. Motion set for hearing on 1/9/2017 at 10:00 AM before Judge Michael W. Fitzgerald.
                    (Attachments: # 1 Exhibit Exhibit 1, # 2 Proposed Order Re HKB's Motion to Dismiss or in the
                    Alternative to Transfer Venue) (Attorney Javier Torres added to party Harry Kent Baker(pty:dft),
                    Attorney Javier Torres added to party H K B Inc(pty:dft), Attorney Javier Torres added to party
                    Scott William Miller(pty:dft), Attorney Javier Torres added to party James Douglas
                    Wilson(pty:dft)) (Torres, Javier) (Entered: 12/05/2016)

12/07/2016   Ï 12   NOTICE OF MOTION AND MOTION for Joinder in NOTICE OF MOTION AND MOTION to
                    Dismiss Complaint or in the Alternative to Transfer Venue 11 filed by Defendants Harry Kent
                    Baker, Scott William Miller, James Douglas Wilson. (Attachments: # 1 Exhibit 1) (Torres, Javier)
                    (Entered: 12/07/2016)

12/14/2016   Ï 13   [THIS DOCUMENT IS HEREBY STRICKEN PER ORDER 15 ] − APPLICATION of
                    Non−Resident Attorney James E. Holland, Jr. to Appear Pro Hac Vice on behalf of Defendants
                    Harry Kent Baker, H K B Inc, Scott William Miller, James Douglas Wilson (Pro Hac Vice Fee −
                    Fee Paid, Receipt No. 0973−19055751) filed by Defendants Harry Kent Baker, H K B Inc, Scott
                    William Miller, James Douglas Wilson. (Attachments: # 1 Proposed Order on Application of
                    Non−Resident Attorney Appear Pro Hac Vice) (Torres, Javier) Modified on 12/15/2016 (jp).
                    (Entered: 12/14/2016)

12/15/2016   Ï 14   NOTICE of Deficiency in Electronically Filed Pro Hac Vice Application RE: APPLICATION of
                    Non−Resident Attorney James E. Holland, Jr. to Appear Pro Hac Vice on behalf of Defendants
                    Harry Kent Baker, H K B Inc, Scott William Miller, James Douglas Wilson (Pro Hac Vice Fee −
                    Fee Paid, Receipt No. 0973−19055751) 13 . The following error(s) was/were found: Local Rule
                    83−2.1.3.4 Local counsel does not maintain an office within the District. (lt) (Entered: 12/15/2016)

12/15/2016   Ï 15   RESPONSE BY THE COURT TO NOTICE TO FILER OF DEFICIENCIES IN
                    ELECTRONICALLY FILED DOCUMENTS RE: APPLICATION of Non−Resident Attorney
                    James E. Holland, Jr. to Appear Pro Hac Vice on behalf of Defendants Harry Kent Baker, H K B
                    Inc, Scott William Miller, James Douglas Wilson (Pro Hac Vice Fee − Fee Paid, Receipt No.
                    0973−19055751) 13 by Judge Michael W. Fitzgerald. The document is stricken and counsel is
                    ordered to file an amended or corrected document by 12/22/2016. The amended application shall
                    correct the deficiencies noted in the Notice to Filer of Deficiencies in Electronically Filed Pro Hac
                    Vice Application (Docket No. 14). (jp) (Entered: 12/15/2016)
                    Case 2:17-cv-00198-DJH Document 29 Filed 01/23/17 Page 5 of 6
12/19/2016   Ï 16   PLAINTIFFS' OPPOSITION TO DEFENDANTS' MOTION TO DISMISS OR, IN THE
                    ALTERNATIVE, TO TRANSFER VENUE re: NOTICE OF MOTION AND MOTION to Dismiss
                    Complaint or in the Alternative to Transfer Venue 11 filed by Plaintiffs Board of Trustees for the
                    Carpenters Southwest Trusts, Carpenters Southwest Administrative Corporation. (Attachments: # 1
                    Declaration of Richard Watanabe, # 2 Exhibit 8 Page 4 thru 29 to Decl of Watanabe, # 3 Exhibit 8
                    Page 30 thru 55 to Decl of Watanabe, # 4 Exhibit 9 to Decl of Watanabe, # 5 Declaration of Daniel
                    M Shanley, # 6 Exhibit 1 to Decl of Shanley, # 7 Exhibit 4 to Decl of Shanley, # 8 Exhibit 5 to Decl
                    of Shanley, # 9 Exhibit 6 to Decl of Shanley, # 10 Exhibit 7 to Decl of Shanley)(Davis, Thomas)
                    (Entered: 12/19/2016)

12/19/2016   Ï 17   EXHIBIT Filed filed by Plaintiffs Board of Trustees for the Carpenters Southwest Trusts,
                    Carpenters Southwest Administrative Corporation. Exhibit 2 Attached to the Declaration of Daniel
                    M. Shanley in Opposition to Defendants' Motion for Dismiss or, in the Alternative, to Transfer
                    Venue as to Objection/Opposition (Motion related),,, 16 . (Attachments: # 1 Exhibit 2 Page 1 thru
                    40, # 2 Exhibit 2 Page 41 thru 81, # 3 Exhibit 2 Page 81 thru 121, # 4 Exhibit 2 Page 122 thru
                    162)(Davis, Thomas) (Entered: 12/19/2016)

12/21/2016   Ï 18   EX PARTE APPLICATION to Continue Hearing from January 9, 2017 to January 23, 2017 filed by
                    Defendants Harry Kent Baker, H K B Inc, Scott William Miller, James Douglas Wilson.
                    (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Proposed Order Proposed Order Re
                    Ex Parte Application to Continue Hearing) (Torres, Javier) (Entered: 12/21/2016)

12/21/2016   Ï 19   Supplemental EX PARTE APPLICATION to Continue Hearing from January 9, 2017 to January
                    23, 2017 Re: EX PARTE APPLICATION to Continue Hearing from January 9, 2017 to January 23,
                    2017 18 filed by Defendants Harry Kent Baker, H K B Inc, Scott William Miller, James Douglas
                    Wilson. (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2) (Torres, Javier) (Entered:
                    12/21/2016)

12/21/2016   Ï 20   PLAINTIFFS OPPOSITION TO DEFENDANTS' EX PARTE APPLICATION TO CONTINUE
                    HEARING DATE re: EX PARTE APPLICATION to Continue Hearing from January 9, 2017 to
                    January 23, 2017 18 , Supplemental EX PARTE APPLICATION to Continue Hearing from January
                    9, 2017 to January 23, 2017 Re: EX PARTE APPLICATION to Continue Hearing from January 9,
                    2017 to January 23, 2017 18 19 filed by Plaintiffs Board of Trustees for the Carpenters Southwest
                    Trusts, Carpenters Southwest Administrative Corporation. (Davis, Thomas) (Entered: 12/21/2016)

12/22/2016   Ï 21   NOTICE of Appearance filed by attorney Nicholas James Begakis on behalf of Defendants Harry
                    Kent Baker, Does, H K B Inc, Scott William Miller, James Douglas Wilson (Attorney Nicholas
                    James Begakis added to party Harry Kent Baker(pty:dft), Attorney Nicholas James Begakis added
                    to party H K B Inc(pty:dft), Attorney Nicholas James Begakis added to party Scott William
                    Miller(pty:dft), Attorney Nicholas James Begakis added to party James Douglas Wilson(pty:dft),
                    Attorney Nicholas James Begakis added to party Harry Kent Baker(pty:dft), Attorney Nicholas
                    James Begakis added to party H K B Inc(pty:dft), Attorney Nicholas James Begakis added to party
                    Scott William Miller(pty:dft), Attorney Nicholas James Begakis added to party James Douglas
                    Wilson(pty:dft))(Begakis, Nicholas) (Entered: 12/22/2016)

12/22/2016   Ï 22   REPLY support NOTICE OF MOTION AND MOTION to Dismiss Complaint or in the Alternative
                    to Transfer Venue 11 , NOTICE OF MOTION AND MOTION for Joinder in NOTICE OF
                    MOTION AND MOTION to Dismiss Complaint or in the Alternative to Transfer Venue 11 12 Re
                    Application to Continue Hearing Date for Defendants' Motion to Dismiss filed by Defendant H K B
                    Inc. (Attachments: # 1 Exhibit A)(Torres, Javier) (Entered: 12/22/2016)

12/22/2016   Ï 23   Amended APPLICATION of Non−Resident Attorney James Edward Holland, Jr. to Appear Pro
                    Hac Vice on behalf of Defendants Harry Kent Baker, Does, H K B Inc, Scott William Miller, James
                    Douglas Wilson (Pro Hac Vice Fee − $325 Previously Paid on 12/14/2016, Receipt No.
                    0973−19055751) filed by defendants Harry Kent Baker, Does, H K B Inc, Scott William Miller,
                    James Douglas Wilson. (Attachments: # 1 Exhibit Certificate of Good Standing, # 2 Proposed
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                    Order) (Begakis, Nicholas) (Entered: 12/22/2016)

12/22/2016   Ï 24   ORDER by Judge Michael W. Fitzgerald: The Ex Parte Application to Continue 18 and
                    Supplemental Ex Parte Application 19 are GRANTED IN PART, DENIED IN PART. The deadline
                    to file a reply on the Motion to Dismiss is extended to December 29, 2016; the hearing date for the
                    Motion remains January 9, 2017, at 10:00 a.m. IT IS SO ORDERED. (cw) (Entered: 12/22/2016)

12/27/2016   Ï 25   ORDER by Judge Michael W. Fitzgerald: The Application by Non−Resident Attorney James E.
                    Holland, Jr. to Appear Pro Hac Vice 23 on behalf of Defendants HKB, Inc., an Arizona corporation,
                    doing business as Southwest Industrial Rigging, Harry Kent Baker, Scott William Miller, and James
                    Douglas Wilson, designating Nicholas J. Begakis as local counsel, is GRANTED. (cw) (Entered:
                    12/27/2016)

12/29/2016   Ï 26   REPLY in Support of NOTICE OF MOTION AND MOTION to Dismiss Complaint or in the
                    Alternative to Transfer Venue 11 filed by Defendants Harry Kent Baker, H K B Inc, Scott William
                    Miller, James Douglas Wilson. (Attachments: # 1 Exhibit Exhibit 1)(Torres, Javier) (Entered:
                    12/29/2016)

01/09/2017   Ï 27   MINUTES OF Motion to Dismiss the Case or in the alternative to Transfer Venue 11 ; Joinder 12
                    before Judge Michael W. Fitzgerald: The Courtroom Deputy Clerk distributes the Court's tentative
                    ruling prior to the case being called. Case called, and counsel make their appearance. The Court
                    hears oral argument from counsel and takes the matter under submission. An order will issue. Court
                    Reporter: Nichole Forrest. (jp) (Entered: 01/09/2017)

01/17/2017   Ï 28   MINUTES (In Chambers): ORDER RE MOTION TO DISMISS OR, IN THE ALTERNATIVE,
                    TO TRANSFER VENUE 11 ; MOTION FOR JOINDER 12 by Judge Michael W. Fitzgerald. The
                    Court GRANTS the Motion to Dismiss or, in the Alternative, to Transfer Venue. The Court
                    GRANTS the Motion for Joinder. The Court ORDERS that this action be TRANSFERRED to the
                    United States District Court for the District of Arizona. IT IS SO ORDERED. (MD JS−6. Case
                    Terminated) (lom) (Entered: 01/17/2017)
